Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 1 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 2 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 3 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 4 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 5 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 6 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 7 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 8 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                           Document Page 9 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 10 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 11 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 12 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 13 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 14 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 15 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 16 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 17 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 18 of 19
Case:20-00697-ESL13 Doc#:20 Filed:03/09/20 Entered:03/09/20 15:11:04   Desc: Main
                          Document Page 19 of 19
